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                                                                     United States District Court
                                                                       Southern District of Texas

                                                                          ENTERED
                   IN THE UNITED STATES DISTRICT COURT                December 18, 2018
                    FOR THE SOUTHERN DISTRICT OF TEXAS                 David J. Bradley, Clerk
                             HOUSTON DIVISION

ANTHONIA NWAORIE, on                    §
behalf of herself and all               §
others similarly situated.              §
                                        §
      Plaintiff,                        §
                                        §
v.                                      §       CIVIL ACTION NO. H-18-1406
                                        §
U.S. CUSTOMS AND BORDER                 §
PROTECTION, et al.,                     §
                                        §
      Defendants.                       §

                      MEMORANDUM AND RECOMMENDATION

      Pending before the court1 is Plaintiff’s Motion for Rule

23(b)(2) Class Certification (Doc. 2) and Defendants’ Motion to

Dismiss (Doc. 26).        The court has considered the motions, the

responses, all other relevant filings, and the applicable law. For

the reasons set forth below, the court RECOMMENDS that Plaintiff’s

Motion for Rule 23(b)(2) Class Certification be GRANTED, and that

Defendants’ Motion to Dismiss be GRANTED in part and DENIED in

part.

                            I.   Case Background

      Plaintiff filed this lawsuit alleging that the U.S. Customs

and Border Protection (“CBP”) has a policy of seizing property and

illegally conditioning the return of the property on the signing of




      1
            This case was referred to the undersigned magistrate judge pursuant
to 28 U.S.C. § 636(b)(1)(A) and (B), the Cost and Delay Reduction Plan under the
Civil Justice Reform Act, and Federal Rule of Civil Procedure 72. See Doc. 11,
Ord. Dated May 21, 2018.
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a hold-harmless agreement (“HHA”).2

A.   Factual Background

      Plaintiff makes the following factual allegations in her

complaint:

      1.    Plaintiff’s Background

      Plaintiff was born and raised in Imo State, Nigeria, and

travels there yearly to operate a week-long free medical clinic.3

Plaintiff’s goal was to eventually open a permanent medical clinic

in Imo State, Nigeria.4       Plaintiff’s father donated land for the

permanent clinic, but Plaintiff still needed funds to start the

clinic.5    For several years, Plaintiff saved money from her income

as a nurse until she had enough to open the clinic.6              Plaintiff

would withdraw up to $5,000 from her bank account at a time and set

it aside for safe-keeping.7

      2.    Plaintiff’s Planned Trip

      On October 31, 2017, Plaintiff went to Houston’s George Bush

Intercontinental Airport planning to fly to Nigeria to open her




      2
            See Doc. 1, Pl.’s Compl., p. 1.

      3
            See id. p. 10.

      4
            See id.

      5
            See id.

      6
            See id.

      7
            See id. p. 11.

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clinic.8    Plaintiff brought $41,377 in cash with her, carrying

approximately $4,000 in her purse and the rest in her carry-on

luggage.9    Plaintiff was unaware that she was required to file a

report that she was exporting more than $10,000 in cash.10           See 31

U.S.C. § 5316.

     Plaintiff was about to board her flight when she was stopped

by CBP officers on the jetway and questioned.11 Plaintiff was asked

how much money she was carrying.12       Plaintiff thought the officers

were asking her about the amount of cash in her purse and she

responded that she had $4,000.13        Plaintiff was asked to fill out

a form and again reported that she was carrying $4,000.14          The CBP

officers then searched Plaintiff’s luggage and found the remainder

of the $41,377.15 The officers seized $41,377 pursuant to 31 U.S.C.

§ 5317.16

     When Plaintiff’s carry-on was searched, it was secured with a




     8
            See id.

     9
            See id.

     10
            See id.

     11
            See id. p. 13.

     12
            See id.

     13
            See id.

     14
            See id.

     15
            See id.

     16
            See id.

                                    3
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luggage lock.17            Although Plaintiff gave the CBP officers a key to

the lock, they cut open the bag.18                Plaintiff missed her flight and

purchased a new ticket to Nigeria on November 9, 2017, where she

operated a temporary week-long clinic.19

       3.      Additional Screenings

       When Plaintiff returned, she was directed to a separate lane

from        other    passengers        and    was   subjected   to    “additional,

particularly intrusive and invasive screening.”20                     During this

screening,          “CBP    officers    ransacked     her   luggage   and   emptied

everything out of her bags.”21               One officer slit open the bottom of

Plaintiff’s leather purse.               Another officer told Plaintiff that

they were aware her money had been seized and that CBP would

“follow her wherever she goes and subject her to this invasive

treatment every time she travels internationally.”22                     Plaintiff

believes that she will be subjected to additional screenings every

time she travels internationally because she has been included on

a “screening list.”23



       17
               See id. p. 14.

       18
               See id.

       19
               See id.

       20
               See id.

       21
               See id.

       22
               See id. p. 15.

       23
               See id. p. 42.

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     4.    The CAFRA Process

     On   November   6,     2017,   CBP   sent    Plaintiff    a   Civil   Asset

Forfeiture Reform Act (“CAFRA”) notice of seizure and gave her

until December 13, 2017, to request a criminal referral to the

United States    Attorney’s      Office   or     opt   for a   civil   judicial

forfeiture proceeding.24        Plaintiff elected a judicial forfeiture

proceeding under CAFRA and filed a CAFRA claim stating her interest

in the seized cash.25       The time for the Government to respond to

Plaintiff’s claim expired on December 12, 2017.26              The Government

never responded to the claim and took no other action that would

entitle it to maintain possession of the money or avoid its

obligation to file a forfeiture complaint.27               Under CAFRA, the

Government was then required to “promptly release” the money to

Plaintiff.28   See 18 U.S.C. § 983(a)(3)(B).

     Instead, Plaintiff was sent a letter demanding that she sign

an HHA before her cash would be returned.29             If Plaintiff did not

sign the HHA within thirty days, forfeiture proceedings would be




     24
           See id. p. 15.

     25
           See id.

     26
           See id.

     27
           See id. pp. 15-16.

     28
           See id. p. 16.

     29
           See id.

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initiated.30    If Plaintiff signed the HHA, a refund check would be

mailed to her within eight to ten weeks.31            By signing the HHA,

Plaintiff would be waiving any claim to attorney’s fees, interest,

or any other relief.32 Signing the HHA would also waive Plaintiff’s

constitutional and statutory rights and would require her to assume

new liabilities, including indemnifying the Government for any

claims brought by other parties.33        Plaintiff chose to not sign the

HHA and instead initiated this lawsuit.

      5.    Class-Wide Allegations

      It is Plaintiff’s contention that Defendants’ actions are a

part of a “broader policy or practice, in which Defendants require

claimants of seized property to sign [HHAs] as a condition of

returning property even when CBP is automatically required to

‘promptly release’ the property under CAFRA.”34          Plaintiff seeks to

have a class certified consisting of those people who have been

subject to this allegedly illegal policy or practice.

B.   Procedural Background

      Plaintiff filed her class-action complaint on May 3, 2018.35



      30
            See id. p. 17.

      31
            See id.

      32
            See id. p. 18.

      33
            See id. p. 18.

      34
            See id. pp. 23-24.

      35
            See Doc. 1, Pl.’s Orig. Compl.

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On the same day, Plaintiff filed her pending motion for class

certification.36    On June 11, 2018, Defendants filed an advisory to

the court stating that they would respond to Plaintiff’s motion for

class certification at the time they filed their answer.37             On July

3, 2018, the Court entered an order giving Defendants until July

23, 2018, to file an answer to Plaintiff’s complaint.38 On July 23,

2018, Defendants filed their pending motion to dismiss Plaintiff’s

complaint.39    On August 27, 2018, Plaintiff filed a response to

Defendants’ motion to dismiss. Defendants filed a reply in support

of their motion to dismiss on September 4, 2018.               Plaintiff filed

a sur-reply to Defendants’ motion to dismiss on October 3, 2018,

and, on November 30, 2018, filed a notice of supplemental authority

in support of its position.40

      Defendants did not file a direct response to Plaintiff’s

motion for class certification.

                           II.   Legal Standards

      Defendants    move   to    have   Plaintiff’s    complaint     dismissed

pursuant to Federal Rule of Civil Procedure (“Rule”) 12(b)(1) and




      36
            See Doc. 2, Pl.’s Mot. to Certify Class.

      37
            See Doc. 20, Defs.’ Advisory to the Court p. 1.

      38
            See Doc. 25, Ord. Dated July 3, 2018.

      39
            See Doc. 26, Def.’s Mot. to Dismiss Pl.’s Compl.

      40
            See Doc. 36, Pl.’s Sur-Reply to Def.’s Mot. to Dismiss Pl.’s Compl.;
Doc. 37, Not. of Supp. Authority.

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Rule 12(b)(6).41              Plaintiff moves for class certification pursuant

to Rule 23.42

A.     Rule 12(b)(1) Motion to Dismiss

       Pursuant          to    Rule   12(b)(1),      dismissal    of     an    action   is

appropriate whenever the court lacks subject matter jurisdiction.

Fed.        R.   Civ.     P.    12(b)(1),       12(h)(3).      The     party    asserting

jurisdiction bears the burden of proof to show that jurisdiction

does exist.             Gilbert v. Donahoe, 751 F.3d 303, 307 (5th Cir.

2014)(citing Ramming v. United States, 281 F.3d 158, 161 (5th Cir.

2001)).

       The       court    may     decide    a    motion   to   dismiss    for    lack   of

jurisdiction on any of three bases: "(1) the complaint alone; (2)

the complaint supplemented by undisputed facts evidenced in the

record; or (3) the complaint supplemented by undisputed facts plus

the court's resolution of disputed facts."                      Ramming, 281 F.3d at

161 (citing Barrera-Montenegro v. United States, 74 F.3d 657, 659

(5th Cir. 1996)).             The court, in determining whether it is properly

vested with subject matter jurisdiction, is "free to weigh the

evidence and resolve factual disputes in order to satisfy itself

that it has the power to hear the case."                       Krim v. pcOrder.com,

Inc., 402 F.3d 489, 494 (5th Cir. 2005)(quoting Montez v. Dep't of

Navy, 392 F.3d 147, 149 (5th Cir. 2004)).


       41
                 See Doc. 26, Defs.’ Mot. to Dismiss p. 1.

       42
                 See Doc. 2, Pl.’s Mot. to Certify Class p. 1.

                                                 8
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B.    Rule 12(b)(6) Motion to Dismiss

      Rule 12(b)(6) allows dismissal of an action whenever the

complaint, on its face, fails to state a claim upon which relief

can be granted.      When considering a motion to dismiss, the court

should construe the allegations in the complaint favorably to the

pleader and accept as true all well-pleaded facts.                  Harold H.

Huggins Realty, Inc. v. FNC, Inc., 634 F.3d 787, 803 n.44 (5th Cir.

2011)(quoting True v. Robles, 571 F.3d 412, 417 (5th Cir. 2009)).

The court may also consider, in addition to the complaint itself,

“any documents attached to the complaint[] and any documents

attached to the motion to dismiss that are central to the claim and

referenced by the complaint.”          Lone Star Fund V (U.S.), L.P. v.

Barclays Bank PLC, 594 F.3d 383, 387 (5th Cir. 2010).

      A complaint need not contain “detailed factual allegations”

but must include sufficient facts to indicate the plausibility of

the claims     asserted,     raising   the   “right to    relief    above    the

speculative level.”        Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

(2007); see also Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

Plausibility means that the factual content “allows the court to

draw the reasonable inference that the defendant is liable for the

misconduct alleged.”        Iqbal, 556 U.S. at 678.       A plaintiff must

provide    “more    than   labels   and    conclusions”   or   “a   formulaic

recitation of the elements of a cause of action.”              Twombly, 550

U.S. at 555.       In other words, the factual allegations must allow


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for an inference of “more than a sheer possibility that a defendant

has acted unlawfully.”        Iqbal, 556 U.S. at 678.

C.     Class Certification Under Rule 23

       Plaintiff seeks to have the proposed class certified under

Rule     23(a)   and   Rule   23(b)(2).       In   order   to   satisfy   the

prerequisites of Rule 23(a), the party seeking class certification

must show that:

       (1) the class is so numerous that joinder of all members
       is impracticable; (2) there are questions of law or fact
       common to the class; (3) the claims or defenses of the
       representative parties are typical of the claims or
       defenses of the class; and (4) the representative parties
       will fairly and adequately protect the interests of the
       class.

Fed. R. Civ. P. 23(a); see also Ackal v. Centennial Beauregard

Cellular L.L.C., 700 F.3d 212, 215-16 (5th Cir. 2012).             In short,

the party must establish: (1) numerosity; (2) commonality; (3)

typicality; and (4) representativeness.            Unger v. Amedisys Inc.,

401 F.3d 316, 320 (5th Cir. 2005).

       In addition to satisfying the prerequisites of Rule 23(a), the

party seeking class certification must also establish that the suit

falls into at least one of the three categories set forth in Rule

23(b).    See Fed. R. Civ. P. 23(b).       “[A] rule 23(b)(2) class may be

certified if ‘the party opposing the class has acted or refused to

act on grounds generally applicable to the class, thereby making

appropriate final injunctive relief or corresponding declaratory

relief with respect to the class as a whole.’”             In re Monumental


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Life Ins. Co., 365 F.3d 408, 415 (5th Cir. 2004) (quoting Fed. R.

Civ. P. 23(b)(2)).        A party that meets the aforementioned criteria

of Rule 23(a) and Rule 23(b)(2) is entitled to pursue her lawsuit

as a class action.         Id.

                                    III. Analysis

A.     Defendants’ Motion to Dismiss

       Defendants      argue     that:   (1)    Plaintiff’s    individual   claims

should be dismissed because they are moot; (2) Plaintiff’s class

action claims are barred by sovereign immunity; and (3) Plaintiff

has no claims that rise “directly under the Constitution.”43

       1.      Plaintiff’s FRCP 41(g) Claim

       Plaintiff brings her individual claim for the immediate return

of her seized money through Federal Rule of Criminal Procedure

(“FRCP”) 41(g).44         Plaintiff alleges that she is entitled to the

return of her money because Defendants: (1) violated CAFRA; (2)

failed to provide her with sufficient notice in violation of the

Fifth       Amendment’s    due    process      clause;   and   (3)   violated   the

Excessive Fines Clause of the Eighth Amendment.45                      FRCP 41(g)

provides that “[a] person aggrieved by an unlawful search and

seizure of property or by the deprivation of property may move for

the property’s return.”           Fed R. Crim. P. 41(g).       Plaintiff’s money


       43
               See Doc. 26, Defs.’ Mot. to Dismiss p. 6, 11, 21.

       44
               See Doc. 1, Pl.’s Orig. Compl. p. 5.

       45
               See id. pp. 37-40.

                                          11
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has been returned to her.46 Defendants argue that Plaintiff’s claim

is moot because her money has been returned.47                Plaintiff argues

that the claim is not moot because Plaintiff is entitled to

interest on this claim and Defendants have only returned her

money.48

        The FRCPs “govern the procedure in all criminal proceedings in

the United States district courts . . . .”                   Fed. R. Crim. P.

1(a)(1).     “Proceedings not governed by [the FRCPs] include . . . a

civil property forfeiture for violating a federal statute.” Fed R.

Crim. P. 1(a)(5)(B).         Plaintiff has not alleged that criminal

proceedings have been initiated against her or that the money was

seized via the FRCPs.49       Plaintiff’s money was seized and subject

to   civil   forfeiture    pursuant    to   a   federal    statute    governing

reporting requirements for transporting over $10,000 “from a place

inside the United States to . . . a place outside the United

States.”50 See 31 U.S.C. §§ 5316-17. Accordingly, without deciding

the mootness of Plaintiff’s FRCP 41(g) claim or whether interest is

an   available    remedy    under   FRCP    41(g),   the     court   finds   that



        46
             See Doc. 26-1, Ex. 1 to Defs.’ Mot. to Dismiss, Dec. of Celia Grau
p. 1.

        47
             See Doc. 26, Defs.’ Mot. to Dismiss p. 7.

        48
             See Doc. 29, Pl.’s Resp. to Defs.’ Mot. to Dismiss pp. 6-9.

        49
             See Doc. 1, Pl.’s Orig. Compl. pp. 14-17, 40.

        50
            See Doc. 1, Pl.’s Orig. Compl. pp. 11-14; Doc. 26, Defs.’ Mot. to
Dismiss pp 1-3.

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Plaintiff cannot bring a claim pursuant to FRCP 41(g).51                      Thus,

Plaintiff’s individual claim for the return of her money pursuant

to FRCP 41(g) should be dismissed.

        2.    Plaintiff’s Claim for Declaratory and Injunctive Relief

        Defendants move for dismissal of Plaintiff’s individual claim

for    declaratory      and   injunctive      relief   against   Defendants     for

alleged due process and equal protection violations.52                    Plaintiff

brought      these    claims    “under     the    Declaratory    Judgments      Act

[(“DJA”)], 28 U.S.C. §§ 2201, 2202, as well as ‘directly under the

constitution.‘”53

        It is well-settled that the United States cannot be sued

unless it waives its sovereign immunity in explicit and unequivocal

terms.       See United States v. Dalm, 494 U.S. 596, 608 (1990);

Wilkerson v. United States, 67 F.3d 112, 118 (5th Cir. 1995). “Where

Congress     has     statutorily   waived      the   United   State’s     sovereign

immunity,      an    action   against    the     government   will   be    strictly

construed and a court will lack subject matter jurisdiction over

any action that does not fit within the scope of the Congressional

waiver.”      Taylor v. United States, 292 F. App’x 383, 385 (5th Cir.


      51
            CAFRA provides that “in any civil proceeding to forfeit property
under any provision of Federal law in which the claimant substantially prevails,
the United States shall be liable for . . . an imputed amount of interest . . .
.”   28 U.S.C. § 2465(b)(C)(ii).    The court notes that since the passing of
CAFRA, the Fifth Circuit has not addressed the issue of whether interest is
available, through CAFRA, on FRCP 41(g) actions for the recovery of currency.

        52
              See Doc. 1, Pl.’s Orig. Compl. p. 40.

        53
              See id. p. 5.

                                         13
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2008)(citing Wilkerson, 67 F.3d at 118)(unpublished).

     When considering “lawsuits against state and federal employees

or entities, courts should look to whether the sovereign is the

real party in interest to determine whether sovereign immunity bars

the suit.”    Lewis v. Clarke, 137 S. Ct. 1285, 1290 (2017) (citing

Hafer v. Melo, 502 U.S. 21, 25 (1991)).                “[L]awsuits brought

against   employees   in   their   official    capacity    ‘represent   only

another way of pleading an action against an entity of which an

officer is an agent,’ and they may also be barred by sovereign

immunity.” Id. at 1290-91 (quoting Kentucky v. Graham, 473 U.S.

159, 165–166 (1985)).        Plaintiff’s lawsuit is brought against

Defendant McAleenan in his official capacity to enjoin the CBP from

certain    actions     Plaintiff     alleges     are      unconstitutional.

Accordingly, if sovereign immunity applies, it applies to all

Defendants.

     “[T]he [DJA] . . . does not grant any consent of the United

States to be sued.”     Anderson v. United States, 229 F.2d 675, 677

(5th Cir. 1956); see also Smart v. Holder, 368 Fed. Appx. 591, 593

(5th Cir. 2010).   Additionally, bringing the action “directly under

the constitution” does not avoid sovereign immunity.             Garcia v.

United States, 666 F.2d 960, 966 (5th Cir. 1982) (“The Constitution

does not waive the Government’s sovereign immunity. . . .”).

Accordingly, the court lacks subject matter jurisdiction over

Plaintiff’s individual claims for injunctive and declaratory relief


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as they are barred by sovereign immunity.            See Holder, 368 Fed.

Appx. at 593 (affirming the dismissal of due process claims on

sovereign immunity grounds that were brought through the DJA

against the Department of Justice, the Attorney General, and the

Acting United States Attorney).

     3.    Plaintiff’s Class Action Claims

     Plaintiff    brings    her     class   action   claims     “under   the

Administrative Procedure Act (“APA”) 5 U.S.C. § 702 (“Section

702"), and the DJA, 28 U.S.C. §§ 2201, 2202, as well as ‘directly

under the constitution.’”54        As discussed above, Plaintiff cannot

bypass sovereign immunity by bringing claims through the DJA or

“directly under the constitution.”           Thus, the court only has

jurisdiction over Plaintiff’s class action claims if the APA

confers jurisdiction upon it.

     Section   702   creates   a    cause   of   action   for   “[a]   person

suffering legal wrong because of agency action, or adversely

affected or aggrieved by agency action within the meaning of a

relevant statute.”      Section 702 also expressly waives sovereign

immunity for an action, like Plaintiff’s, that is “seeking relief

other than money damages and stating a claim that an agency or an

officer or employee thereof acted or failed to act in an official

capacity or under color of legal authority.”

     Defendants argue that sovereign immunity still applies to


     54
           See Pl.’s Orig. Compl. p. 5.

                                     15
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Plaintiff’s class action claims because: (1) CAFRA does not provide

a meaningful standard “upon which to judge Defendants’ exercise of

discretion;” (2) “Plaintiff fails to meet the requirements of 5

U.S.C. § 702 [(“Section 702")];” and (3) “Plaintiff fails to show

[that] Defendants’ policy is ultra vires and violates CAFRA.”55

               a.    CAFRA’s Meaningful Standard

     Section 983(a)(3) of CAFRA provides that “the Government shall

promptly release the [seized] property pursuant to regulations

promulgated by the Attorney General, and may not take any further

action    to     effect   the   civil   forfeiture     of   such   property   in

connection with the underlying offense” if, within 90 days of a

person’s filing of a claim under CAFRA, the Government does not:

(1) “file a complaint for forfeiture or return of the property;” or

(2) “obtain a criminal indictment containing an allegation that the

property is subject to forfeiture” and “take the steps necessary to

preserve its right to maintain custody of the property as provided

in the applicable criminal forfeiture statute.”                    18 U.S.C. §

983(a)(3)(A)-(B). The Attorney General’s regulations provide that:

     [(1)] the U.S. Attorney in charge of the matter shall
     immediately notify the appropriate seizing agency that
     the 90-day deadline was not met . . .[; (2)] [u]pon
     becoming aware that the seized property must be released,
     the agency shall promptly notify the person with a right
     to immediate possession of the property, informing that
     person to contact the property custodian within a
     specified period for release of the property, and further
     informing that person that failure to contact the


     55
               See Doc. 26, Defs.’ Mot. to Dismiss pp. 11-19.

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     property custodian within the specified period for
     release of the property may result in initiation of
     abandonment proceedings against the property. . .[; and
     (3)] the property custodian shall have the right to
     require presentation of proper identification and to
     verify the identity of the person who seeks the release
     of property.

28 C.F.R. § 8.13.

     Defendants argue that the phrase “promptly release”, found in

Section   983   (a)(3),   “does      not    provide   a   standard    to   judge

Defendants’     discretion      in   sending    [HHAs]     before     returning

property.”56    Defendants cite American Canoe Association v. United

States EPA as authority for their position.               30 F. Supp. 2d 908

(E.D. Va. 1998).      The American Canoe court found that a statute

that required the EPA to review a continuing planning process from

“time to time” clearly left the timing of the EPA’s reviews to its

discretion.     See id. at 923.            Thus, the American Canoe court

dismissed Plaintiff’s claim that the EPA failed to perform a

mandatory, nondiscretionary duty to conduct reviews.                See id.

     Defendants argue that the phrase “promptly release” affords

them discretion similar to the discretion the EPA was given in

American Canoe by the phrase “time to time.”57 The court disagrees.

“Promptly” is commonly defined as: (1) “quickly;” (2) “without

delay;”   or    (3)   “immediately.”           See    e.g.,   Dictionary.com,

https://www.dictionary.com/browse/promptly (defining “promptly”)


     56
           See Doc. 26, Defs.’ Mot. to Dismiss p. 14.

     57
           See id. pp. 13-15.

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(last       visited     Dec.       14,     2018);    Macmillan         Dictionary,

https://www.macmillandictionary.com/us/dictionary/american/promptly

(defining         “promptly”)      (last      visited     Dec.     14,      2018);

https://dictionary.cambridge.org/us/dictionary/english/promptly

(defining “promptly”) (last visited Dec. 14, 2018).                    The common

definitions of “promptly” do not afford Defendants the unfettered

discretion that they argue they have.               Defendants have failed to

show how the phrase “promptly release” affords them the discretion

to interpose the requirement that rightful property owners sign

HHAs and have not cited to any legal authority interpreting the

word “promptly”        to   be   “whenever”    and “on    the    conditions       the

Government sets.”           See American Canoe, 30 F. Supp. 2d at 923

(citing cases that have found the phrase “time to time” to afford

an agency discretion in implementing a review).

       Finally, CAFRA and the Attorney General’s regulations provide

the circumstances under which Defendants are allowed to maintain

control of seized property and the procedures that must be followed

at    all   stages     of   a    forfeiture   action.      See    18     U.S.C.    §

983(a)(3)(A)-(B); 28 C.F.R. § 8.13. For these reasons, Defendants’

meaningful standard argument should be rejected.

             b.      Requirements of Section 702

       Defendants argue that Plaintiff does not meet the Section 702

waiver of sovereign immunity.58          To establish a waiver of sovereign


       58
             See Doc. 26, Defs.’ Mot. to Dismiss p. 15.

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immunity under Section 702 a plaintiff must: (1) “identify some

‘agency action’ affecting him in a specific way, which is the basis

of his entitlement for judicial review;” and (2) “show that he has

‘suffered legal wrong because of the challenged agency action, or

is adversely affected or aggrieved by that action within the

meaning of a relevant statute.’”       Alabama-Coushatta Tribe of Texas

v. United States, 757 F.3d 484, 489 (5th Cir. 2014).              “‘[A]gency

action’ for the purposes of [Section] 702 is set forth by 5 U.S.C.

§ 551(13) [(“Section 551")] and is defined as ‘the whole or part of

an agency rule, order, license, sanction, relief, or the equivalent

or denial thereof, or failure to act.’”          Id.

     Plaintiff alleges that Defendants have a policy of withholding

property from its rightful owner until they sign an HHA despite

being required to “promptly release” the property under CAFRA.

“Sanction”   is   defined    by   Section    551   to   include:     (1)   the

“withholding of property;” (2) a “condition affecting the freedom

of a person;” or (3) taking other compulsory or restrictive action.

See 5 U.S.C. § 551(10)(D).           The court finds that Defendants’

actions constituted “agency action” under Section 551.

     Defendants argue that Plaintiff cannot show that her proposed

class action challenges a specific agency action because it is “an

allegation of past, ongoing, and future harms, covering actions

that have yet to occur.”59 Defendants cite to case law holding that


     59
           See Doc. 26, Defs.’ Mot. to Dismiss p. 17 (quotation marks omitted).

                                     19
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a Plaintiff cannot seek the “wholesale improvement” of the way the

executive branch administers its programs.                 See Alabama-Coushatta

Tribe of Texas, 757 F.3d at 490–91.              But here, Plaintiff is not

seeking wholesale        improvement      of   the   way    the   CBP    chooses      to

operate.     Plaintiff is challenging the CBP’s alleged practice of

withholding property that it is required by CAFRA to “promptly

release” and requiring the rightful owner to sign an HHA prior to

releasing the property.         Further, Plaintiff alleges that she and

numerous members of her class have already been subject to CBP’s

alleged practice.         The court finds that Plaintiff has met her

burden at this stage in the lawsuit to show that her class action

falls within the requirements of Section 702.60

             c.      Ultra Vires Exception

       The court has found that Plaintiff meets the APA’s sovereign

immunity waiver requirements.          Thus, it is unnecessary to consider

Plaintiff’s alternative ultra vires exception to sovereign immunity

argument.

B.     Plaintiff’s Motion to Certify Class

       Defendants have not filed a formal response to Plaintiff’s

motion to certify class.            Nonetheless, the court will briefly

address the issue in accordance with the applicable standards.

Plaintiff     must    show   that   her    proposed    class      meets       the   four



       60
            As the court has jurisdiction under        Section    702,   it   may   issue
declaratory and injunctive relief under the DJA.

                                          20
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requirements of Rule 23 and falls into the Rule 23(b)(2) class

category.    Plaintiff proposes the following class definition:

     All claimants to seized property for which CBP has
     pursued, or will in the future pursue, civil forfeiture
     under 18 U.S.C. § 983, and as to which:

     (1) within 90 days after a claim has been filed under 18
     U.S.C. § 983(a)(2), the United States government:

            a.    declines to pursue forfeiture and thus declines
                  to file a complaint for forfeiture under 18
                  U.S.C. § 983(a)(3)(A); or

            b.    does not file a complaint for forfeiture under
                  18 U.S.C. § 983(a)(3)(A) for any other reason;
                  and

            c.    has not taken any other action under 18 U.S.C.
                  § 983(a)(3) that would avoid its obligation to
                  file a forfeiture complaint within 90 days
                  after a claim has been filed, namely: obtaining
                  an extension from the court in the district in
                  which the complaint would be filed, obtaining
                  a criminal indictment containing an allegation
                  that the property is subject to forfeiture and
                  taking the steps necessary to maintain custody
                  of the property, or returning the property
                  pending filing of a complaint; and

     (2) CBP demands that the claimant sign a Hold Harmless
     Agreement waiving the claimant’s constitutional rights as
     a condition of releasing the seized property.61

     1.     Numerosity

     The size of Plaintiff’s class is only known to Defendants and

not Plaintiff.62     However, Plaintiff has presented evidence that

from 2014 to 2016 CBP conducted over 120,000 seizures per year



     61
            See Doc. 2, Pl.’s Mot. to Certify Class pp. 3-4.

     62
            See id. p. 7.

                                     21
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nationwide.63      If even a          minute percentage of these seizures

resulted in HHAs being sent to claimants after they were entitled

to the return of their property under CAFRA, then the class is

sufficiently large that joinder would be impracticable.                   The court

will revisit this issue if, as the lawsuit progresses, it appears

that joinder of the parties is practicable.

      2.      Commonality

      The    questions     of   law    and     fact    in    this   lawsuit   can   be

primarily, if not entirely, addressed on a class-wide basis.                        The

pertinent issues are whether Defendants require that claimants

entitled     to   their    property     sign    HHAs    before      returning   their

property and whether this practice, if it exists, is prohibited by

CAFRA.      Both issues can be addressed class-wide.

      3.      Typicality

      Plaintiff had her property seized and filed a claim for it

pursuant to CAFRA.        After 90 days had expired and she was entitled

to her property under CAFRA, she was informed that she had to sign

an HHA in order to receive her property.                    Plaintiff seeks to have

the action of Defendants declared illegal. Her claim is typical of

her proposed class with one exception.                 Plaintiff never signed an

HHA yet she seeks to have any HHAs that were signed by a class




      63
            See Doc. 2-1, Ex. 1 to Pl.’s Mot. to Certify Class, Dec. of Jennifer
McDonald p. 3.

                                         22
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member declared void.64     The court finds that this minor difference

is not enough to defeat typicality.

     4.    Representativeness

     Plaintiff is represented pro bono by counsel with extensive

experience litigating constitutional issues, including challenging

seizures and civil forfeitures on constitutional grounds.65               The

court sees no issue with Plaintiff’s counsel representing the

class. However, it is of slight concern that Plaintiff has had her

property returned and dismissal is recommended with respect to her

other individual claims. At the present, there is no evidence that

Plaintiff will fail to “fairly and adequately protect the interest

of the class.”      Fed. R. Civ. P. 23(a).          If that changes, the

representativeness     of   Plaintiff    as   the   named   party   can     be

revisited.

     5.    Standing Issues

     The return of Plaintiff’s property and dismissal of her other

individual claims raises an issue on whether Plaintiff still has

standing to bring her class claims.

     In Zeidman v. J. Ray McDermott & Co., the Fifth Circuit found

that where “the plaintiffs have filed a timely motion for class

certification and have diligently pursued it, the defendants should

not be allowed to prevent consideration of that motion by tendering


     64
           See Doc. 1, Pl.’s Orig. Compl. p. 47.

     65
           See Doc. 2, Pl.’s Mot. to Certify Class p. 11.

                                    23
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to the named plaintiffs their personal claims before the district

court reasonably can be expected to rule on the issue.”             Zeidman v.

J. Ray McDermott & Co., Inc., 651 F.2d 1030, 1045 (5th Cir. 1981).

The Zeidman court reasoned that where “it is financially feasible

to pay off successive named plaintiffs, the defendants would have

the option to preclude a viable class action from ever reaching the

certification stage.”        Id. at 1050.

       Plaintiff timely filed her motion for class certification on

May 3, 2018, the same day that she filed her lawsuit.66                   After

Plaintiff filed her lawsuit, Defendants processed the refund and a

refund check was issued to Plaintiff on May 22, 2018.67                 This is

exactly the type of scenario that the Zeidman court described.

Defendants could easily return the seized property to any named

plaintiff to prevent class certification.               The court finds that

Zeidman allows this lawsuit to proceed as a class action with

Plaintiff as the representative party.

       6.    Certification Under Rule 23(b)(2)

       Plaintiff wishes to have her class action certified under Rule

23(b)(2).     Defendants have allegedly acted “on grounds generally

applicable to the class.”          See Fed. R. Civ. P. 23(b)(2).          Thus,

final injunctive declaratory relief is appropriate with respect to



       66
             See Doc. 2, Pl.’s Mot. to Certify Class.

       67
             See Doc 26-1, Ex. 1 to Defs.’ Mot. to Dismiss, Dec. of Celia Grau p.
2.

                                       24
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the class as a whole.           See id.    Accordingly, the court finds that

certification of Plaintiff’s class under Rule 23(b)(2) is proper.

       7.     Plaintiff’s Proposed Notice

       Plaintiff requests that Defendants be required to send notice

of the lawsuit to current and future members of the class and that

the notice be drafted by the agreement of the parties with court

intervention only if necessary.68               “For any class certified under

Rule 23(b)(1) or (b)(2), the court may direct appropriate notice to

the class.”       Fed. R. Civ. P. 23(c)(2)(A).               The court finds that

Plaintiff’s request is appropriate and should be granted.

                                  IV.     Conclusion

       Based on the foregoing, the court RECOMMENDS that Plaintiff’s

Motion for Rule 23(b)(2) Class Certification be GRANTED, and

Defendants’ Motion to Dismiss be DENIED as to Plaintiff’s class

claims brought through the APA, and GRANTED as to Plaintiff’s other

claims.

       The    Clerk     shall    send     copies    of   this     Memorandum   and

Recommendation to the respective parties who have fourteen days

from    the   receipt    thereof    to     file    written    objections   thereto

pursuant to Federal Rule of Civil Procedure 72(b) and General Order

2002-13. Failure to file written objections within the time period

mentioned shall bar an aggrieved party from attacking the factual



       68
              See Doc. 2, Pl.’s Mot. to Certify Class p. 13.

                                           25
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findings and legal conclusions on appeal.

     The original of any written objections shall be filed with the

United States District Clerk electronically.              Copies of such

objections shall be mailed to opposing parties and to the chambers

of the undersigned, 515 Rusk, Suite 7019, Houston, Texas 77002.

     SIGNED in Houston, Texas, this 18th day of December, 2018.




                                      ______________________________
                                         U.S. MAGISTRATE JUDGE




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